             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                      1:19 CR 128 MOC WCM

UNITED STATES OF AMERICA,                        )
                                                 )
v.                                               )               ORDER
                                                 )
PAUL MARTIKAINEN,                                )
                                                 )
                 Defendant.                      )
___________________________________              )

      This matter is before the Court on the Government’s Request for Remote

Appearance (Doc. 37) and Defendant’s Unopposed Motion to Allow Hearings to be

Conducted Remotely and/or by Videoconference (Doc. 38).

      For the reasons stated therein, the Motions will be allowed.

      IT IS THEREFORE ORDERED THAT:

      1. The Government’s Request for Remote Appearance (Doc. 37) is GRANTED

         and witnesses from the medical staff at FMC Butner will be allowed to

         testify remotely from their facility.

      2. The Defendant’s Unopposed Motion to Allow Hearings to be Conducted

         Remotely and/or by Videoconference (Doc. 38) is GRANTED. Defendant

         shall remain housed at FMC Butner pending the upcoming hearing and is

         permitted to appear remotely for that proceeding.




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 3. The Clerk is respectfully directed to schedule the hearing described by the

    undersigned’s prior Order at the earliest date that is reasonably practical.




                           Signed: January 11, 2021




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